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WMCLE Do STATES Dist Rick cooRtT

 

NORTHERN DISTRICT. OF: Oto

 

 

UNITED STATES Judge Sara Liot

 

 

 

 

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2% FILED

NARGIS HALL, SEP 2 2020

Detendant rw Ona ee ee

 

 

 

DEFENDANT'S SUPPLEMENTAL MoTioN

 

FoR CoMPASSIONATE RELEASE UNPBPER

 

BUS SoBe CAI and. Win WE Sie

 

FOR ARPOLN TED Couns: EL

 

 

Def endant, Harais Hal, appearing in pra se,

 

hereby Submits. additional reasons sor the Court

 

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Compe Wing (LAaSons” exist +p ay an + any a

 

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earicaa ke in sentence under a WSC. Ser ebay

 

3532 (c) 01) CA) GG), aS “amended by the Varsa

 

Stee Ack of 2018.

 

Me. es \\ Submitied “an mi tial Compass innate

 

release motion in August 2020 which 15 of She -

 

Court's docket pending review, The government

 

das trot beam ockered. ‘> 2 Lespind- as i yet,

 

 

it\'s

 

 

 
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\n Movant's motion, he asks for a reduction in

 

Sentence to care for his elderly parents both of

 

 

which have serious medical complications which
render them unable to adeq uately provide se\l -care..

 

Np. al) Was the primary cafegqiver foc Ais parents

 

before his arrest, (Dec, ne ay

 

In addition +o caring foc his Ailing parents,

 

(Nr, Wa\\ has Nacious udderlying ten ical

 

Conditions which, according "hp te Centers

 

Ce Disease eae CC 7 a. place ith. die

 

high - tisk sor severe illness from COVID -19,"

 

including obesity aha being a long time

 

Former “smo Ker Dela e People “who Are

 

at Higher Risk. for Severe LI lness, https: // www,

 

Cac. gov / Creanavirus 72.014 —ocoy./ feed

 

extrs- precautions /people ~ at— higher = risk,

 

hil, Nr, Hall \S 2 former Saver aad is

 

Severely obese (Dec. at ae 5, and ©),

 

Recognizing the Unique cisks dhat correctional

 

facilities pose to isiimkes. Bee employees,

 

Members of Conatess asked She BOP an March

 

gO Dip allow for the immediate release of

 

“ Non- Violent inmates ” eVIARNCING Vulnerabilt ty

 

+o CONID-19, See Letter of Representatives

 

Jerrold Nadler and Karen Bass (March 14,

 

2oz0)(“ DOT and BOP must do all they Can

 

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+o felease as many peoole as Gos 5 ible who are

 

currently hehind nats. Ana at risk of getting

 

ey a Races 46) PAW S.C. 3582 (c)CL LA), The

 

Director of the Bureau ot Prisons Nay Move

 

jhe Couct to feduce Aan inmate's tecm ve im gel sonmant

 

tar. extraordinary ana Compelling Teasons, Hy: The

 

nex+ weel , Attorney Genera) Barr urged the

 

BOP +o prioritize heme Confinement for such

 

vulnerable individuals..See httos:// wiuw,

 

the marshall protect. ora [documents /6820452—

 

 

eee Axtorney- denera\ pa to- BOP —
— Home. .

 

=o. Aori\ Sula Pursuant to. his authority |

 

Under the CARES Act, At+or ney General Barc

 

directed the BOP +o expand the use of home

 

Confinement Upon finding that “ emergency

 

Conditions are materially atfecting the :

 

Juogctioning of the Bureau Ke Pesan Sab

 

hitps: www. justice, gov / File /126066| J download.

 

19 ee. Cont iaE 3532 Cc) CA) GD, as amended

 

by Yhe. First Step Act of 2018, Sitar ues cere

 

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Compell ing reasons” warrant a peda an “ader

 

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if the defendant has exhausted all “lO cheeks

 

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remedies to appeal the BOP's failure to bring

 

a Motion, or 1% 30 days has lapsed € feom iy

 

receipt of such & feq uest by Ihe warden of Ehe

 

defendani's facil ty iken ene. SS eaclver.-

 

Wnlted States v. Decator, No, CCB-95-0202,

 

2020 Wi 1G16219 () ind. Nor 6. 2020) (quoting

 

(Gclesec 3507 (oyCOCA) Coe Pub le = 2a The.

 

Nc eect wos (a0. 3 Cb), Veco. 2018, 132 ae

 

52 34),

 

\o She montis since the First Siep Act took

 

effect, district yudges across Jhe Nation have

 

signiticaaiiy expand ed the Scope of Compassionate

 

release, Finding * ers pordunat ana compelling

 

(easons” in Aecomsianges whol Ny Boar t rd Ot

 

IN Combination with, the \uonudkecd: factors of which

 

the BoP historically relied (age, medica \

 

Conarhion, famil ly needs):

 

(ASS Walker, No, Li ll-CR-270, 2019

 

Wi 5268152, at *2 (N.D. Ohio Oct. 1.

 

2019) C However, under subsection CD) of the

 

note, the Court may also Consider other

 

7
‘extcaordinary and Compelling feasons’” pot

 

specifical ty arimladed Je

 

 

+ Mee Sie Uckevich, No. 8: O3CR31, 2014

 

Ae GO31341, at ¥3 (D. Neb. Nov, IM,

 

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PoVa yt Chis Couct may use Aoo\ Cation

 

Note 1D) a6) basis Se finding

 

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feduce a sentence. ”):

 

 

‘ Unied Slates v. Perez, No, 38-10094—

 

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Wat, Bi Ope Since the passage of the Firs4

 

Step Ack. however, cs Mayority of federa\

 

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Natural feadidy of dhe amended Section

 

SeOOlc) ann section AGU {t).1< dnod ihe

 

Aistrick court assumes the same discretion

 

as ine BOP director when ib considers a

 

Compassionate felease motion properly be fore

 

it... Lhe United States ag fees that eee 1S

 

 

the Mayority View, oe

 

la. the jast ans Case, Me, Wall presents both

 

tamy Circumstances and vulnerabilidy

 

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5 incarcerated Inawidural buy wuse la

 

Constitutes an Nextraordinary “boa

 

Comgelling (emson...00 beleaso Sider de oe CG,

 

Spe hing Aha app. Ni ACD), See e.g, United

 

Sal es ak. Nei, 2020 WLZO4IGTIH, at ®.

 

 

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eats appl lied Yo Mel, the Covib~-14 pandemic

 

presents * extraordinary ana compelling (easons

 

dna warran the ees sentencing fea reare

 

fequested, ode United States Vv, Amacrah, Nib. Ja

 

ZOUGY, 2020 WL 2220008 (FE. D. Mich, May 7,

 

Sra Sher ening 60 - Month senvence after only

 

2\_ months because detendants Vulnerability te

 

Cofonavitus Put him at “a substantial risk “ even

 

though facility had flo ara Cases)? United

 

States AF ga eine dl all ee les ace \ 02.0.2 8 WA as

 

DNNO DS. we ND ee May M 2opo)

 

Chelding Spat for dhe Su- year-old defendant

 

with Vtlner ability to Cov\bd-19 due +o underlying

 

health problems ‘4 Nothing Could be More

 

extra ordinary ‘and Compe Ning thang this

 

pandemic,”

 

ln addition Yo CONAD- 14 cases inside the

 

O61 S00) already (Dec. ot g) the OTIS on where

 

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c, Wall is incaccecated 1s 77% overcrowded

 

a at to) and he is unable to follow the

 

Ci os recommended sate Practices Meant to -

 

Siem the spread ot jhe Cofonavitus i Der. at

 

a),

 

\n sentencing Me, Wall, the Court made

 

\ACiOUS Fecommendatins to We 18.0. P. which

 

ANcluded “mental health Counseling i “ Soo hour

 

 

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~6-

 

 

 
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Intensive AC wo treatment, and that he

 

“ participate in ON Vrades prog Cam's offered

 

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es
These fecommendations were likely part of the

 

Courts Qoals in Ahe MGS AO of es sentence

 

Undel A A: >: C. Sprhion. 355 3 Cay 62) :Ci)

 

Which include: “ +o provide the defendant With

 

Needed educational or vocational yrainihg ,

 

 

Medical Care, or other Correctional Yreatment
iV Ibe Moss effective manner, ” : 7

 

Unfortunately , due to ihe pandemic and its

 

affect on the Bor, Mr. Wallis unable Yo receive

 

any educational treatment. or intensive drug

 

treat mont Wi AWN. A Dec. axe) oad Aa) \q :

 

@ddition, Ne. Hal) is not recewing Bay

 

Menta Gene Couns e\ Ing, ae eae ae fe

 

Cumberland 15 1\\ equipped to Provide mental

 

healik Areatment and doesnt even have a

 

 

licensed. Psychiatrist available or on statf at
veal

 

Given jhe eee set of facts, Mn Wallis

 

Sentence 15 Not curcenrtly being carried Out iA

 

the way the Court (or. Cong ress)imiended

 

by \NETS Ng Aa ol ie Vo) alee another reason

 

 

We Court Should Mod ity Me. Halls sentence.

 

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Ns indicated in Me. Halls inihial motion foc

 

Compaussinhate felease, Vie is indigent ana WaGks

 

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Kis pleading 3 he humbly requests \hat the

 

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Coes Bppoind him Counsel yo file B supplemental

 

brief ais the issues Baa Provide Ve Cae with

 

any Nnecess acy Suppor sing documents which ace

 

AEC cu ls Soc. Wall tp cult B1v-en nist ongoing

 

\ncarceration and XS mrt ations AUring the

 

Ocison “lockdown. :

 

Ne. Wal Pras that Vre Court will Consider

 

his pleadings, Pare i SUPPL t, DNA the

 

Ura ent emergency CITCUM STANCES in granting

 

Wiican a Con ices: Sentence.

 

 

Resp ecttully Submitted,

 

f i

 

 

HaARGis HALL

 

Prisoner Av, 66©4491-060

 

FC\ Cumberland

 

V0, Box \o00o

 

Cumberland, Nd. 2t50)- Lovo

 

(301) 7184-1000

 

 

 

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Weclarution of Hargis Hall

 

Harg is Hall siates:

 

 

_ Before NY \nprisonment, | was the primary —

 

caregiver foc my parents, Edna Hall aoa

 

Hargis Wall,

 

 

o Ny Sadher, Worgis a ml 1S dying due te his

 

advanced Kid Key disease,

 

 

3, One of dhe reasons Ahat \im petitioning jhe

 

Court toc a Modification ie Ny sentence

 

1s for te tv be able to aive mu father

 

; we Eat wii.
one ot My Kidney s So that he can \ive,

 

 

ee am obese and Wave De body WSS inaex

 

of over SO,

 

 

Schl ut, eSiabes cigacettes foc over eee Years

 

Prive te hy) incarceration,

 

 

6, \ive smoked “nT ererrenin for many YEaes

 

and ik was this issue that lead +o my cur rent

 

Feder a \ Conviction, \ signed Ap tor “drug

 

\ceat tment throug) \he Drison's Residensixal

 

Drug and cote. Program, however, due ta

 

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e@Paper.net at a a

 

 

 
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the ongoing pandemic the prison does not

 

offer any drug treatment programs at all,

 

Additionally , - (he Prison 1s on \ockKdown and

 

has been since (March 30: 2.020,

 

 

lis \he Courk in IMPOSING (Ny sentence of HG

 

months recommended co iin Bureau of Prisons

 

that! feceive mental health coun seling ”

 

‘Soo hour intensive Atug treatment” Kd

 

that | “participate in ANY trades programs

 

a LR at the designated Facility, |

 

Due to the paAnAeMrc , ioe PCisoN does hot

 

offer any at the Soave programs ana for

 

reasons “Unk Gulane ‘mental health counseling |

 

has never been offered to me since the

 

beginning ot Mu incarceration,
2 7 oJ

 

 

®, FC\ Cumberland, where \ am incarcerated,

 

has fecenilu had an outbreak of Covin-19

 

 

amongs + boil inmates and staff,

 

la. \ 3m woable +o social distance, Stay aw ay

 

From sick Persons, avoid Crowds, aid Ween

 

 

Surfaces Aci een Aue +o My INCarcer ation.

 

 

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10; \ne Prison \ am housed at was meant for

 

612 Inmates based Upon jis SC aaed

 

Capacity (see FC\ Cumbertand Nedium

 

\nspection Keport,: Pee og 2p), however jhe

 

 

PLS yO vO Wolds \ Va. inmates according
S the BoP website at www, Doe. QO,

 

 

fa Signed Up Joc She SOo houc di ug

 

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Pursuant yo 28 0.5.C. ING, \ declare under

 

 

penalty of Perry \hat the Tor eqoing LSoiachs tide
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‘and correct,

 

 

Executed Shis 23rd aay of mens 2020),

 

 

 

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